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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                                                     §
                                                           §      Case No. 17-31646
MONTCO OFFSHORE, INC., et al.,1                            §
                                                           §      Chapter 11
         Debtors.                                          §
                                                           §      (Jointly Administered)

         NOTICE OF FILING OF PROPOSED ORDER REGARDING MEDIATION

         PLEASE TAKE NOTICE that a hearing was held in the above-captioned chapter 11
 cases on December 12, 2017 (the “Hearing”), at which time the official committee of unsecured
 creditors (the “Committee”) to the above-captioned debtors (the “Debtors”) made an oral motion
 (the “Motion”) to the Court, and the Court granted the Motion, ordering that certain parties in
 interest mediate certain matters as described on the record at the Hearing by no later than
 December 19, 2017 (the “Mediation”).

       PLEASE TAKE FURTHER NOTICE that, following the Hearing, the Debtors and the
 Committee contacted several retired and active bankruptcy judges as well as experienced
 bankruptcy attorneys to conduct the Mediation.

        PLEASE TAKE FURTHER NOTICE that on December 13, 2017, counsel to the
 Committee informed parties in interest of the availability (or lack thereof) of a list of five
 potential mediators that had been contacted by the Committee and/or the Debtors. The
 Committee had previously indicated a desire to utilize the services of Mr. Tom Kirkendall, Esq.,
 which decision is supported by the Debtors, as well as by respective counsel to Aqueos
 Corporation and Oceaneering International, Inc.

         PLEASE TAKE FURTHER NOTICE that counsel to Alliance Energy Services, LLC
 (“Alliance”) opposes Mr. Kirkendall serving as a mediator due to Alliance’s belief that Mr.
 Kirkendall may not have sufficient “chapter 11 and mediation experience.” Respective counsel
 to Odyssea Marine, Inc. and Bollinger Shipyards raised concerns about the prospect of paying
 for the services of a mediator, but have not outright opposed Mr. Kirkendall serving as mediator.
 However, to date, no other party has confirmed the availability of an active bankruptcy judge to
 serve as mediator on or prior to the December 19, 2017 deadline, despite several requests from
 the Committee and the Debtors.

        PLEASE TAKE FURTHER NOTICE that the Debtors and the Committee respectfully
 request that the Court enter the proposed order attached hereto as Exhibit A appointing Mr.
 Kirkendall as mediator for the Mediation, over the objection of Alliance.


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   The debtors in these chapter 11 cases (collectively, the “Debtors”), together with the last four (4) digits of each
 Debtor’s federal tax identification number, are Montco Offshore, Inc. (1448) and Montco Oilfield Contractors, LLC
 (9886). The mailing address for the Debtors, solely for the purposes of notices and communications, is 17751 Hwy
 3235, Galliano, Louisiana 70354.
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